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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:21-cr-28 (APM)
                                                 )
LAURA STEELE,                                    )
                                                 )
                        Defendant.               )

                      GOVERNMENT’S OPPOSITION TO
               DEFENDANT’S MOTION TO RECONSIDER DETENTION

       The United States respectfully files this memorandum in opposition to Defendant Laura

Steele’s motion to reconsider detention. Defendant Steele plotted with her co-conspirators to stop

the certification of the Electoral College vote, prepared to use violence if necessary, and stormed

the Capitol. After she stormed the Capitol, she deleted records (text messages and phone logs)

from her iPhone, as well as records from her Facebook account. For these reasons, the Court

should maintain the order that the defendant be detained pending trial.

I.     Background

       Video recorded on January 6, 2021, captured the defendant among a “stack” of more than

a dozen individuals dressed in camouflaged para-military gear moving in a deliberate and

organized manner toward the Capitol building. An additional recording shows the stack moments

later embedded near the front of a violent mob that is attempting to literally break open the doors

of the Capitol building. The video depicts the doors later opening and the subsequent flow of

people into the building, to include the defendant and members of the stack.           Selfies and

surveillance video taken inside of the Capitol Rotunda further evince Defendant Steele’s and her

coconspirators’ presence inside.
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       Co-defendant Jessica Watkins characterized their insurgent effort to breach the Capitol

building as “forcing entry into the Capitol building” and said that it was “[f]orced. Like Rugby.”

On the afternoon and evening of January 6, co-defendant Graydon Young (Defendant Steele’s

brother) wrote on Facebook that “[w]e stormed and got inside,” and co-defendant Kelly Meggs

wrote in a Signal chat, “Ok who gives a damn who went in there…. We are now the enemy of the

State.” An hour later, Kelly Meggs wrote to the same Signal chat: “We aren’t quitting!! We are

reloading!!”

       Based on her actions described above, on February 17, 2021, Defendant Steele was arrested

on a complaint charging her with conspiracy, in violation of 18 U.S.C. § 371 (a felony); destruction

of government property, in violation of 18 U.S.C. § 1361 (a felony); obstruction of an official

proceeding, in violation of 18 U.S.C. § 1512(c)(2) (a felony); entering a restricted building without

lawful authority, in violation of 18 U.S.C. § 1752(a) (a misdemeanor). Defendant Steele made her

initial appearance in the Middle District of North Carolina the same day, and was detained pending

a hearing pursuant to 18 U.S.C. § 3142(f).

       On February 19, 2021, a federal grand jury in Washington, D.C., indicted Defendant Steele

(along with eight co-defendants, including her brother Graydon Young) on the same four counts

from the complaint. 1

       On February 23, 2021, Magistrate Judge Joe L. Webster of the Middle District of North

Carolina conducted a detention hearing. On February 26, 2021, Judge Webster issued a written

findings of fact and conclusions of law to support his decision that Defendant Steele be detained

pending trial. Judge Webster wrote:

               [T]he Court concludes that the record establishes by clear and convincing
               evidence that no combination of available release conditions would

1
 On March 12, 2021, the grand jury handed up a second superseding indictment, adding a tenth defendant
but leaving the charges as to Defendant Steele unchanged.

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               reasonably assure the safety of the community. While the Court notes that
               Defendant poses a minimal risk of flight, the nature of the alleged crime
               poses a serious and significant threat to the community and the nation at
               large. Defendant is alleged to have conspired with a group of individuals to
               disrupt the operations of the United States Government. According to the
               indictment, the breach of the Capitol on January 6, 2021 necessitated the
               evacuation of members of the House and Senate from their respective
               chambers. Congress was not able to reconvene to complete the electoral
               college vote until 8:00 pm that evening. This disruption resulted in the
               assault of more than one hundred law enforcement officers defending the
               Capitol, millions of dollars of damage to the Capitol building, and
               ultimately, the death of multiple individuals. While the evidence at the
               hearing suggests that Defendant engaged in less physical violence than
               others participating in the events of that day, Defendant’s breach of the
               Capitol building on January 6, 2021 is a far cry from the actions of one who
               is exercising her First Amendment right to peacefully assemble….

               Ultimately, Defendant has not rebutted the presumption of detention in this
               case, a presumption established by the nature of the charges pending against
               her. See 18 U.S.C. § 3142(e)(3)

(ECF 10; Case 1:21-mj-00061-JLW (M.D.N.C.).)

       On March 18, 2021, Defendant Steele filed the instant motion.

II.    Legal Standard

       Defendant Steele styles her pleading as a “motion to reconsider detention,” but it is unclear

to the government whether she is seeking to “reopen[]” the detention hearing under Section 3142(f)

based on alleged new material information, or whether she is filing a “motion for revocation or

amendment” of Magistrate Judge Webster’s detention order under Section 3145(b). Her pleading

cites to Section 3142 (but not Section 3145), and asks for this Court’s “reconsideration of Ms.

Steele’s pre-trial detention status.” (ECF 90 at 1-2.) For that reason, it appears that she is seeking

to “reopen” the detention hearing under Section 3142(f), which means she must come forward

with “information that was not known to the movant at the time of the hearing and that has a




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material bearing” on the underlying detention question. See United States v. Lee, 451 F. Supp. 3d

1, 5 (D.D.C. 2020). 2

        At a detention hearing, the government may present evidence by way of a proffer. United

States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).

III.    Argument

        a. Alleged “Changed” Circumstances

        Here, because Defendant Steele has not articulated any significant changes to the factual

findings that underpinned Magistrate Judge Webster’s detention order, the Court should deny the

motion for reconsideration. See Lee, 451 F. Supp. 3d 1 at 5.

        b. Basis for Detention

                 i. Introduction

        Defendant Steele’s motion fails to recognize that there is a rebuttable presumption in favor

of Defendant Steele’s detention, pursuant to 18 U.S.C. § 3142(e)(3)(C). A felony charge of

destroying government property under 18 U.S.C. § 1361 is an offense listed in 18 U.S.C.

§ 2332b(g)(5)(B), and is punishable by a term of imprisonment of up to 10 years, which falls within

the statutory requirement that the predicate offense provide for punishment of “10 years or more.”

Because the grand jury found probable cause that the defendant committed a felony violation of

Section 1361, the rebuttable presumption applies here.

        Judge Webster found that the presumption applied – and that it was not rebutted. This

Court should not disturb that ruling.




2
 If Defendant Steele is indeed moving for review under Section 3145(b), the Court should review the
magistrate’s release order de novo. See, e.g., United States v. Tortora, 922 F.2d 880, 883-84 (1st Cir.
1990) (district court engages in de novo review of contested pretrial release or detention order made by
magistrate).

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        Even if the Court were to reach the merits of Judge Webster’s detention decision,

Defendant Steele has not proffered facts to rebut the presumption of detention, and the factors in

Section 3142(g) still favor Defendant Steele’s detention. 3 None of the information presented in

Defendant Steele’s pleading negates that she conspired with others to stop Congress’s certification

of the Electoral College vote, took steps to aid this conspiracy, and then participated in the storming

of the Capitol itself.

                ii. Preparation: Defendant Steele’s Actions Prior to Storming the Capitol

        On the evening of January 3, 2021, Defendant Steele emailed a membership application

and vetting form to the Oath Keepers of Florida. 4 She copied Defendant Young on the email, and

wrote: “My brother, Graydon Young told me to submit my application this route to expedite the

process.” Under the section for “CPT Skill Sets (Community Preparedness Team) Experience or

Interests,” she checked “Security.” Under “Skillsets,” she wrote: “I have 13 years of experience

in Law Enforcement in North Carolina. I served as a K-9 Officer and a SWAT team member. I

currently work Private Armed Security for [company name redacted]. I am licensed PPS through

the North Carolina Private Protective Services.”

        Within 10 minutes, Defendant Steele sent another email, this one directly to Defendant

Kelly Meggs’s email account at Proton Mail, again copying Defendant Young. She again attached




3
  Moreover, the indicted crime of a Section 1361 violation is an enumerated offense under Section
2332b(g)(5)(B), and the offense was clearly calculated to “influence or affect the conduct of government
by intimidation or coercion” under Section 2332b(g)(5)(A). As such, the offense constitutes a federal crime
of terrorism for purposes of evaluating the “nature and circumstances of the offense charged” under Section
3142(g)(1).
4
 The email recipient was actually a Florida Oath Keepers account at “protonmail.com.” Proton Mail is
housed overseas (in Switzerland) and offers end-to-end encryption. “Even the company hosting your
emails has no way of reading them, so you can rest assured that they can’t be read by third parties either.”
Mindaugas Jancis, ProtonMail review: have we found the most secure email provider in 2021?,
CyberNews, Mar. 4, 2021, at https://cybernews.com/secure-email-providers/protonmail-review.

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her application and vetting form, and wrote: “My brother, Graydon Young told me to send the

application to you so I can be verified for the Events this coming Tuesday and Wednesday.”

          The following day (January 4), Defendant Steele sent the same materials to yet another

Oath Keepers email address at Proton Mail. On her email, she copied co-defendants Kelly Meggs

and Graydon Young.

          About five hours later, Young forwarded Person One’s January 4, 2021, “Call to Action”

email to Defendant Steele, in which Person One wrote, “It is CRITICAL that all patriots who can

be in DC get to DC to stand tall in support of President Trump’s fight to defeat the enemies foreign

and domestic who are attempting a coup, through the massive vote fraud and related attacks on

our Republic. We Oath Keepers are both honor-bound and eager to be there in strength to do our

part.”

          Also on January 4, Young flew from his home in Florida to Greensboro, North Carolina,

and spent the night at Defendant Steele’s house.

          On the morning of January 5, Young and Steele drove in Steele’s family’s van 5 from North

Carolina to the Washington, D.C., area. They stayed at the Holiday Inn in Springfield, Virginia,

in a room paid for by Young.

          In Virginia, Defendant Steele met up with others who were in the area to attend the rally

on the Ellipse. They took a selfie together inside Steele’s van:




5
    The van is registered to Young and Steele’s mother, who lives with Steele.

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Importantly, the other individuals do not appear to have stormed the Capitol like Steele and Young.

In fact, another individual from the group (referred to as W-1) informed the government that Steele

and Young (who introduced themselves by first names but not last names) stated that they were

members of the Oath Keepers and that they were in Washington, D.C., to provide security.

       On the morning of January 6, Steele and Young took the Metro from Springfield, Virginia,

to Washington, D.C. Below is a photo, with Steele on the left and Young on the right:




       Several members of the conspiracy – as well as other members of the Oath Keepers –

participated in a Signal chat titled “DC OP: Jan 6 21.” The chat shows that the participants were

activating a plan to use force on January 6. At approximately 1:38 p.m. that day, Person One


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wrote, “All I see is Trump doing is complaining. I see no intent by him to do anything. So the

patriots are taking it into their own hands. They’ve had enough.” At 2:14 p.m., an individual

leading the coordination of the security details run by the Oath Keepers on January 5-6 stated,

“The have taken ground at the capital[.] We need to regroup any members who are not on

mission.” Person One then reposts that message and instructs the group: “Come to South Side of

Capitol on steps” and then sends a photograph showing the southeast side of the Capitol. At 2:41

p.m., Person One posted another photograph showing the southeast side of the Capitol with the

caption, “South side of US Capitol. Patriots pounding on doors[.]” At around the same time,

Defendant Steele – with several of her coconspirators – was breaching the Capitol itself.

               iii. Obstructing the Certification: Defendant Steele’s Actions on January 6

        At around 2:20 p.m. on January 6, the U.S. Capitol Police locked down the Senate chamber

to protect Vice President Pence, the senators, and staffers from the rioters that had begun to storm

the Capitol and from the mob that was enveloping the building. At around 2:30 p.m., law

enforcement began to evacuate Vice President Pence and senators from the Senate chamber. At

about the same time, Defendant Steele and her coconspirators ascended the steps on the east side

of the Capitol, pushing through and parting the crowd so that they could get closer to the doors at

the top of the steps. Defendant Steele is one of several individuals in a military-style “stack”

formation, with hands on each other’s backs or flak jackets, some with obvious Oath Keeper

insignias visible on their clothing, moving up through the crowd towards the door of the Capitol.6

Below is a screenshot (with red arrow added to identify Defendant Steele):




6
 The video is available at the following link, at slide 10: https://apnews.com/article/ex-military-cops-us-
capitol-riot-a1cb17201dfddc98291edead5badc257.

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       Members of the stack of Oath Keepers – including Defendant Steele – wearing matching

uniforms consisting of camouflaged-combat attire, then aggressively approached the east doors of

the Capitol. These individuals, who are wearing helmets, reinforced vests, and clothing with Oath

Keeper logos and insignia, can be seen moving in an organized and practiced fashion and forcing

their way to the front of the crowd gathered around a set of doors:




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       A close-up view of the badges on the vest of one of these individuals, seen just under the

Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.” The

badge also says, “I don’t believe in anything. I’m just here for the violence.”




       Then, at around 2:40 p.m., Defendant Steele, as part of the stack, and with seven of her

current co-defendants, rushed through the Capitol doors and past a police officer trying to keep the

crowd at bay:




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          With several of her coconspirators, Steele then moved into the Rotunda:




          At around 2:47 p.m. – while Defendant Steele was inside the Capitol – rioters broke into

the Senate chamber. At about the same time, several members of the conspiracy, along with

dozens of other rioters, moved down a hallway connecting the Rotunda to the Senate chamber. 7

The rioters chanted phrases such as “Fuck McConnell,” and tried to continue down the hallway to

the Senate. 8 As described by co-defendant Watkins in a subsequent Parler post: “Yeah. We

stormed the Capitol today. Teargassed, the whole 9. Pushed our way into the Rotunda. Made it

into the Senate even. The news is lying (even Fox) about the Historic Events we created today.”




7
 It is presently unclear if Defendant Steele was one of the members of the conspiracy who physically
went down this hallway. The investigation is continuing.
8
    See https://www.liveleak.com/view?t=9ZobJ_1610107203.

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Thankfully, a group of police officers in riot gear was able to push the rioters back into the Rotunda

(and away from the Senate chamber) by deploying a chemical irritant. 9

        Defendant Steele remained inside the Capitol for about 25 minutes in total, until finally

leaving with several of her coconspirators at around 3:05 p.m.

        But Defendant Steele did not leave the area. At around 4:00 p.m., a large group – including

Defendant Steele and co-defendants Kelly Meggs, Connie Meggs, and Graydon Young, other

members of the stack, and other individuals wearing “Oath Keepers” clothing and insignia who

stormed the Capitol – gathered around Person One and stood around waiting for at least 10 minutes

in that location:

                                                    a.




9
 According to co-defendant Watkins’s Parler post, as reported by the press: “We never smashed
anything, stole anything, burned anything, and truthfully we were very respectful with Capitol Hill PD
until they attacked us. . . . Then we stood our ground and drew the line.” Jake Zuckerman, Ohio
bartender and her “militia” drove to D.C. to join the Capitol breach, Ohio Capital Journal, Jan. 13, 2021,
at https://ohiocapitaljournal.com/2021/01/13/ohio-bartender-and-her-militia-drove-to-d-c-to-join-the-
capitol-breach/

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                                                    b.




        The above photographs show Defendant Steele (circled in red) with a group of several

other personnel wearing tactical gear, including some with writing that says “Oath Keepers” and

“Florida.”

        At 4:10 p.m., a participant in the Signal chat referenced above wrote, “Fight the good fight.

Stand your ground.” And at 4:49 p.m., a participant in the Signal chat wrote, “I got gassed and

maced….I put that shit on my eggs boy…..we made a statement.”

        Meanwhile, at 3:47 pm, Defendant Steele’s husband texted her (and others) asking, “You

did[n’]t storm the capital building did you?”: 10




10
  At the detention hearing in the Middle District of North Carolina, Defendant Steele’s husband initially
testified that he sent the message directly to Defendant Steele, but when confronted with this screenshot,
he conceded that it “was a group thread.” 2/23/21 Tr. at 29.

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       Defendant Steele pointedly did not respond to that accusation. Over an hour later, she

simply texted that she was on the Metro.

              iv. Concealment: Defendant Steele’s Actions After January 6

       On the evening of January 6, instead of staying again at the Holiday Inn, Defendant Steele

and Young drove back to Steele’s home in North Carolina, arriving after midnight.

       While Defendant Young was still at Defendant Steele’s house, Defendant Young’s

photograph was displayed on the news, and it was a topic of conversation among the family

members. 2/23/21 Tr. at 31-32. It was “distressing” to Defendant Steele. Id. at 32. By that time,

she obviously knew that the FBI was seeking Defendant Young.

       Defendant Young, rather than flying home to Florida from North Carolina on January 8,

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changed his plans and drove home in Defendant Steele’s family van. Defendant Young then

arranged for the van to be shipped back to Steele’s house.

          Around this time, Defendant Steele started to try to cover her tracks.

          First, Defendant Steele’s clothing on January 6 – black vest, black Florida Oath Keepers

t-shirt, khaki pants, black boonie hat – would have been visible on surveillance video. However,

when executing a search warrant at Defendant Steele’s house on February 17, the FBI could not

locate these clothing items. Notably, though, the FBI observed a burn pit in Defendant Steele’s

backyard.

          Second, Defendant Steele’s Facebook account would have documented both her intentions

prior to January 6 and her actions that day and afterwards. Yet, by her husband’s admission at her

detention hearing, after returning from Washington, D.C., and seeing her brother’s face as a wanted

man on the news, she started deleting content from her Facebook account. 2/23/21 Tr. at 32. Other

individuals who lived with Defendant Steele reported the same to the FBI.

          In addition, according to records obtained from Facebook, on January 8, 2021, Defendant

Steele appears to have “untagged” herself in approximately 27 posts, videos, and photos on

Facebook. For instance, on November 15, 2020, co-defendant Young commented on one of

Defendant Steele’s Facebook posts from the prior day, writing: “actually they know enough about

counting to know when to stop counting and start cheating.” But the substance of Defendant

Steele’s comment has been deleted; it is not visible in the return from either Young or Defendant

Steele.

          Third, while the FBI recovered and then searched Defendant Steele’s cellphone after her

arrest on February 17, 2021, much of the content had been deleted. Although the settings in the

phone show that message retention is set to “forever,” there are no text messages between October



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28, 2020, and January 8, 2021. The government believes that Defendant Steele affirmatively

deleted these messages, because (a) records from AT&T (Defendant Steele’s carrier) show that

many text messages were sent or received during this time period, and (b) the cellphone extraction

report actually documents some of the deletions from January 6 (indicated by the red X’s):




       Moreover, Defendant Steele’s phone shows no phone calls prior to January 18, 2021. But

records from AT&T show that Defendant Steele initiated and received many phone calls.

Importantly, co-defendant Kelly Meggs called Defendant Steele (and left a voicemail) on the

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morning of January 7 (“Hey, this is Gator down in Florida, can you give me a call? [Phone number

redacted.] Thank you.”), and then Defendant Steele exchanged several phone calls with Kelly

Meggs throughout January 7 (though some appear to have not been answered):




These phone calls are not reflected in the extraction from Defendant Steele’s phone, suggesting

that she deleted them.

IV.    CONCLUSION

       For all these reasons, the government submits that Defendant Steele has not presented

information that constitutes a significant change in the law or facts since Judge Webster ordered

her detained. Defendant Steele has also not rebutted the presumption under Section 3142(e)(3)(C),

that there are no conditions that will reasonably assure the safety of the community.

       Defendant Steele’s motion to reconsider detention should therefore be denied.




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